Case 0:19-cv-62016-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 1 of 11



                            UNITED S TATES DIS TRICT COURT
                            SOUTHERN DIS TRICT OF FLORIDA

                                         CASE NO.

  RENZO BARBERI ,

                  P laint iff,

                  vs.

  GASCOM, INC., a Florida Profit
  Corporation, d/b/a EAST HOLLYWOOD
  SHELL, JANICE A. GAINES, as Trustee of
  the Janice D. Gaines Family Trust and
  HARRY A. GAINES, as Trustee of the
  Harry Alan Gaines Family Trust,

            Defendant s.
  _______________________________/

                                        COMPLAINT

  P laint iff RENZO BARBE RI (hereinaft er “P laint iff”), t hrough t he under signed
  counsel, hereby files t his co mplaint and sues GASCOM, INC., d/b/a EAST
  HOLLYWOOD SHELL ( “GASCOM”), JANICE A. GAINES, as Trustee of the JANICE D.
  GAINES FAMILY TRUST, (“J. GAINES”) and HARRY A. GAINES, as Trustee of the
  HARRY ALAN GAINES FAMILY TRUST (“H. GAINES”) (hereinaft er, collect ively
  referred   to    as “Defendant s”),   for   declarat ory and    injunct ive relief;   for
  discr iminat io n based on disabilit y; and for t he result ant att orney's fees,
  expenses, and cost s ( including, but not limit ed t o, court cost s and expert fees),
  pursuant to 42 U.S.C. §12181 et. seq., ("AMERI CANS WITH DISABILITIES
  ACT OF 1990," or "ADA") and alleges:


  JURIS DICTION
  1.    This Court is vest ed wit h or iginal jur isdic t ion over t his act ion pursuant to
  28 U.S.C. §1331 and § 1343 for P laint iff’s claims ar is ing under T it le 42 U.S.C.
  §12181 et . seq., based on Defendant s’ violat ions of T it le III o f t he Amer icans
  wit h Disabilit ies Act of 1990, ( her einaft er referred t o as t he "ADA"). See also

                                              1
Case 0:19-cv-62016-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 2 of 11



  28 U.S.C. §2201 and §2202.


  VENUE
  2.      The venue o f all event s giving r ise t o t his lawsuit is lo cat ed in Broward
  Count y, Flor ida. Pursuant t o 28 U.S.C. §1391(B) and rule 3.1 o f Local Rules o f
  t he Unit ed St at es Dist rict Court for t he Sout her n Dist r ict of Flor ida, t his is t he
  designat ed court for t his suit .


  PARTIES
  3.     P laint iff, RENZO BARBERI , is a resident of t he St at e of Flor ida. At t he
  t ime o f P laint iff’s vis it t o Shell Gas Station (“Subject Facility”), P laint iff suffer ed
  fro m a “qualified disabilit y” under t he ADA, and required t he use of a
  wheelchair for mobilit y. Specifically, P laint iff suffer s fro m paraplegia due t o a
  sever ed T4 and T5, and is t her efore confined t o his wheelcha ir. T he P laint iff
  personally visit ed Shell Gas Station, but was denied fu ll and equal access, and ful l
  and equal enjo yment o f t he facilit ies, ser vices, goods, and amenit ies wit hin Shell
  Gas Station, which is t he subject of t his lawsuit . The Subject Facilit y is a gas
  st at ion and a convenience st ore and P laint iff want ed to purchase fuel and
  beverages, but was unable t o due to t he discr iminat or y barr ier s enumerat ed in
  Paragraph 15 o f t his Co mplaint .


  4.     In t he alt er nat ive, P laint iff, RENZO BARBE RI , is an advocat e of t he
  r ight s of similar ly sit uat ed disabled per s ons and is a “t est er” for t he purpose of
  assert ing his civil r ight s and monit or ing, ensur ing and det er mining whet her
  places o f public acco mmodat ion are in co mpliance wit h t he ADA.


  5.     Defendant s, GASCOM, J. GAINES and H. GAINES are aut hor ized t o conduct
  business and are in fact conduct ing business wit hin t he St at e of Flor ida. The
  Subject Facilit y is lo cat ed at 2800 Hollywood Blvd., Hollywood, FL 33020. Upon
  infor mat io n and belie f, GASCOM is t he lessee and/or operator of t he Rea l
  Propert y and t herefor e held account able of t he vio lat ions of t he ADA in t he

                                                 2
Case 0:19-cv-62016-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 3 of 11



  Subject Facilit y which is t he mat t er of t his su it . Upon in for mat io n and belief, J.
  GAINES and H. GAINES are t he owner s and lessors of t he Real Propert y where
  t he Subject Facilit y is locat ed and t herefore held account able for t he vio lat ions
  of t he ADA in t he Subject Facilit y which is t he mat t er of t his suit .


  CLAIMS: VIOLATIO NS OF TH E AMERICANS WITH DISAB ILITIES ACT
  6.     P laint iff adopt s and re -alleges t he alle gat ions st at ed in par agraphs 1
  t hrough 5 of t his co mpla int , as are furt her expla ined herein.


  7.     On July 26, 1990, Congress enact ed t he Amer icans w it h Disabilit ies Act
  ("ADA"), 42 U.S.C. §12101 et . seq. Co mmer cial ent erpr ises were provided one
  and a half year s fro m enact ment of t he st at ut e to implement it s requirement s.
  The effect ive dat e of T it le III of t he ADA was Januar y 26, 1992, or Januar y 26,
  1993 if Defendant s had t en (10) or fewer emplo yees and gross receipt s o f
  $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


  8.     As st at ed in 42 U.S .C. §12101(a) (1)-(3), (5) and (9), Congress found,
  amo ng ot her t hings, t hat :

         i. so me 43,000,000 Amer icans have one or more phys ical or ment a l
           disabilit y, and t his number shall increase as t he populat io n cont inues t o
           grow and age;

         ii. hist or ica lly, societ y has t ended t o isolat e and segregat e individuals
           wit h disabilit ies and, despit e so me improvement s, such for ms o f
           discr iminat io n against disabled individuals cont inue t o be a pervasive
           social pro blem, requir ing ser ious at t ent ion;

         iii. discr iminat io n against disabled individuals per sist s in such cr it ica l
           areas as emplo yment , housing, public acco mmodat io ns, t ransport at io n,
           co mmunicat ion, recreat io n, inst it ut ionalizat ion, healt h services, vot ing
           and access t o public ser vices and public facilit ies;

         iv.   individuals    wit h disabilit ies cont inually suffer              for ms o f
           discr iminat io n, including:    out right    int ent io nal    exclusio n;    t he
           discr iminat or y  effect s   of    archit ect ural,      t ransport at io n,  and
           co mmunicat ion barr iers; failur e t o make modificat io ns t o exist ing

                                               3
Case 0:19-cv-62016-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 4 of 11



               facilit ies and pract ices; exclusio nar y qualificat ion st andards and
               cr it er ia; segregat io n, and regulat ion t o lesser ser vices, programs,
               benefit s, or ot her opport unit ies; and,

           v. t he cont inuing exist ence of unfair and unnecessar y discr iminat io n and
             prejudice de nies people wit h disabilit ies t he opport unit y t o compet e on
             an equal basis and t o pursue t hose opport unit ies for which t his count r y
             is just ifiably famous, and cost s t he Unit ed St at es billio ns o f do llars in
             unnecessar y expenses result ing fro m dependency and non-product ivit y.

  9.       As st at ed in 42 U.S.C. §12101( b)(1)(2) and (4), Congress explic it ly st at ed
  t hat t he purpose o f t he ADA was t o:

           i. provide a clear and co mprehensive nat ional mandat e for t he eliminat io n
             of discr iminat io n against individuals wit h disa bilit ies;

           ii. provide clear, st rong, consist ent , enforceable st andards addressing
             discr iminat io n against individuals wit h disabilit ies; and,

           iii. invoke t he sweep of congressio nal aut horit y, including t he power to
             enforce t he fourt eent h amendment and t o regulat e co mmerce, in order to
             address t he ma jor areas of discr iminat ion faced on a daily basis by
             people wit h disabilit ies.

  10.      Pursuant t o 42 U.S.C. §12181(7), and 28 CFR §36.104, T it le III, no
  individual ma y be discr iminat ed against on t he basis o f dis abilit y wit h regards
  to    t he    full   and   equal   enjo yment   of t he   goods,   services,   facilit ies,   or
  acco mmo dat ions o f any place of public acco mmodat ion by any per son who
  owns, leases (or leases t o), or operat e s a p lace of public acco mmodat ion. Shell
  Gas Station is a place of public acco mmo dat io n by t he fact it is an est ablishment
  t hat provides goods/ser vices t o t he gener al public, and t herefore, must co mply
  wit h t he ADA. T he Subject Facilit y is open t o t he publ ic, it s operat ions affect
  co mmerce, and it is a gas st at ion. See 42 U.S.C. Sec. 12181 (7) and 28 C.F.R.
  36.104.       Therefore, t he Subject Facilit y is a public acco mmodat io n t hat must
  co mply wit h t he ADA.


  11.      The Defendant s have discr iminat ed, and cont inue t o discr iminat e against
  t he P laint iff, and ot hers who are similar ly sit uat ed, by denying access t o, and


                                                  4
Case 0:19-cv-62016-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 5 of 11



  full and equal enjo yment of goods, ser vices, facilit ies, pr ivileges, advan t ages
  and/or accommodat io ns at Shell Gas Station locat ed at 2800 Hollywood Blvd.,
  Hollywood, FL 33020, as prohibit ed by 42 U.S.C. §12182, and 42 U.S.C. §12101 et .
  seq. ; and by fa iling t o remo ve archit ect ural barr iers pur suant t o 42 U.S.C.
  §12182( b)(2)( A)( iv).


  12.    P laint iff has vis it ed t he Subject Facilit y, and has been denied fu ll, safe,
  and equal access t o t he facilit y and t herefore suffered an injur y in fact .


  13.    P laint iff shall suffer a fut ure injur y as P laint iff int ends t o ret urn and
  enjo y t he goods and/or ser vices at t he Subject Facilit y wit hin t he next six
  mo nt hs. The Subject Facilit y is in clo se proximit y t o Plaint iff’s res idence and is
  in an area fre quent ly t ravelled by P laint iff. Furt her more, P laint iff will a lso
  ret urn to monit or compliance wit h t he ADA. However, P laint iff is precluded
  fro m do ing so by t he Defendant s' failur e and refusal t o provide people wit h
  disabilit ies wit h full and equa l access to t heir facilit y. Therefore, P laint if f
  cont inues t o suffer fro m discr iminat io n and injur y due t o t he archit ect ural
  barr iers, whic h ar e in vio lat io n o f t he ADA.


  14.    Pursuant to t he mandat es o f 42 U.S.C. §12134(a), on July 26, 1991, t he
  Depart ment o f Just ice, Office o f t he Attorney General, pro mu lgat ed Federa l
  Regulat io ns to imple ment t he requirement s of t he ADA. The ADA Accessibilit y
  guidelines ( hereinaft er referred t o as “ADAAG”), 28 C. F.R. Part 36, ma y cause
  vio lat ors to obt ain civil penalt ies of up to $55,000 for t he fir st vio lat io n and
  $110,000 for any subsequent vio lat io n.


  15.    The Defendant s are in vio lat ion o f 42 U.S.C. §1218 1 et . seq., and 28

  C.F.R. 36.302 et . seq., and ar e discr iminat ing against t he P laint iff wit h t he

  fo llo wing specific vio lat ions which P laint iff perso nally encount ered and/or has

  knowledge of:

                                                 5
Case 0:19-cv-62016-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 6 of 11



           a. The parking facility does not provide a compliant accessible parking

              space. 2010 ADA Standards 502.1

           b. There is one (1) non-compliant accessible parking space located at the

              west end of the facility. 2010 ADA Standards 502.2

           c. The accessible parking space identification striping is faded. 2010 ADA

              Standards 502.3.1

           d. The access aisle is not striped correctly. 2010 ADA Standards 502.3.1

           e. The accessible parking space identification striping is mismarked. Each

              such parking space must be striped in a manner that is consistent with the

              standards of FDOT for other spaces and prominently outlined with blue

              paint, and must be repainted when necessary, to be clearly distinguishable

              as a parking space designated for persons who have disabilities. 2010

              ADA Standards 502.6.1

           f. The parking facility does not provide compliant directional and

              informational signage to a compliant accessible parking space. 2010 ADA

              Standards 216.5

           g. There is no compliant access aisle attached to an accessible route serving

              any existing parking space which would allow safe entrance or exit of

              vehicle for accessible persons requiring mobility devices.    2010 ADA

              Standards 502.2

           h. There is currently no existing accessible route to help persons with

              disabilities safely maneuver through the parking facility as required in

              2010 ADA Standards 502.3



                                               6
Case 0:19-cv-62016-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 7 of 11



            i.   Existing facility does not provide a compliant accessible route to the main

                 entrance from any site arrival point. 2010 ADA Standards 206.2, 208,

                 401.1, 502

            j.   There is a non-compliant ramp connecting the access aisle to the building

                 walkway. The ramp is too steep. Ramp runs must have a running slope not

                 steeper than 1:12. 2010 ADA Standards 405.2

            k. The ramp requires handrails. Ramp runs with a rise greater than 6 inches

                 must have handrails 505.2

            l.   Handrails must be provided on both sides of stairs and ramps. 2010 ADA

                 Standards 405.8, 505.2

            m. At time of inspection there was a trash can beside the main entrance door

                 on the building walkway blocking the accessible route. The clear width of

                 walking surfaces must be 36 inches minimum. 2010 ADA Standards

                 403.5.1

            n. The unisex restroom signage is non-compliant. Where a tactile sign is

                 provided at a door, the sign must be located alongside the door at the latch

                 side. 2010 ADA Standards 703.4.2

  16.    Upon infor mat ion and belief t here are ot her current vio lat io ns o f t he AD A
  at Shell Gas Station. Only upon full inspect io n can all vio lat io ns be ident ified.
  According ly, a co mp let e list of vio lat io ns will requir e an on -sit e inspect ion by
  P laint iff’s r epresent at ives pur suant to Rule 34b of t he Federal Rules of C ivi l
  Procedure.


  17.    Upon infor mat io n and belief, P laint iff alleges t hat removal o f t he
  discr iminat or y barr iers and vio lat io ns is readily achievable and t echnicall y


                                                  7
Case 0:19-cv-62016-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 8 of 11



  feasible. To dat e, t he readily achievable ba rr ier s and ot her vio lat io ns of t he
  ADA st ill exist and have not been remedied or alt ered in such a way as t o
  effect uat e compliance wit h t he provis io ns of t he ADA.


  18.    Pursuant to t he ADA, 42 U.S.C. §12101 et . seq., and 28 C.F.R. §36.304,
  t he Defendant s were required t o make t he est ablishment a place o f public
  acco mmo dat ion, accessible t o persons wit h disabilit ies by Januar y 28, 1992. As
  of t his dat e t he Defendant s have failed t o co mply wit h t his mandat e.


  19.    The P la int iff has been obligat ed t o ret ain t he under signed counsel for t he
  filing and prosecut io n o f t his act ion. P laint iff is ent it led t o have it s reasonable
  att orney's fees, cost s and expenses paid by t he Defendant s, pursuant to 42
  U.S.C. §12205.


  20.    Pursuant to 42 U.S.C. §12188, t his Court is vest e d wit h t he aut hor it y t o
  grant P laint iff injunct ive relief, including an order to alt er t he subject facilit ie s
  to make t hem readily accessible and useable by individuals wit h disabilit ies t o
  t he ext ent required by t he ADA, and clo sing t he Subject Facilit y u nt il t he
  requisit e modificat io ns ar e co mplet ed.


  REQUEST FOR RELIEF
  WHERE FORE, t he P la int iff demands judgment against t he Defendant s and
  request s t he fo llo wing injunct ive and declarat ory relief:


  21. That t his Honorable Court declares t hat t he Subject Faci lit y owned, operat ed
  and/o r cont rolled by t he Defendant s is in vio lat io n o f t he ADA;


  22.    That t his Honorable Court ent er an Order requir ing Defendant s t o alt er t he
  Subject Facilit y t o make it accessible to and usable by individuals wit h
  disabilit ies to t he full ext ent requir ed by T it le III of t he ADA;



                                                 8
Case 0:19-cv-62016-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 9 of 11



  23.    That t his Honorable Court ent er an Or der dir ect ing t he Defendant s t o
  evaluat e and neut ralize t heir po licies, pract ices and procedures toward persons
  wit h disabilit ies, for such reaso nable t ime so as t o allo w t he Defendant s t o
  undert ake and co mplet e correct ive procedures t o t he Subject Facilit y;


  24.    That t his Honorable Court award reasonable at torney's fees, all cost s
  ( including, but not limit ed t o court cost s and expert fees) and ot her expenses o f
  suit , to t he P laint iff; and


  25.    That t his Honorable Court award such ot her and furt her r elief as it deems
  necessar y, just and proper.

  Dat ed t his August 12, 2019.

  Respect fully submit t ed by:

  Ronald E. Stern
  Ronald E. St ern, Esq.
  Flor ida Bar No. 10089
  THE ADVOCACY LAW FIRM, P.A.
  1250 East Hallanda le Beach Boulevard, Suit e 503
  Hallandale Beach, Flor ida 33009
  Telephone: (954) 639-7016
  Facsimile: (954) 639-7198
  At t orney for P laint iff, RENZO BARBERI




                                             9
Case 0:19-cv-62016-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 10 of 11



                         UNITED S TATES DIS TRICT COURT
                         SOUTHERN DIS TRICT OF FLORIDA

                                         CASE NO.

  RENZO BARBERI,

               P laint iff,

               vs.

  GASCOM, INC., a Florida Profit
  Corporation, d/b/a EAST HOLLYWOOD
  SHELL, JANICE A. GAINES, as Trustee of
  the Janice D. Gaines Family Trust and
  HARRY A. GAINES, as Trustee of the
  Harry Alan Gaines Family Trust,

            Defendant s.
  _______________________________/

                              CERTIFICATE OF S ERVICE

         I HEREBY CERTIFY t hat on August 12, 2019, I elect ronically filed t he
  Co mplaint alo ng wit h a Summo ns for each Defendant wit h t he Clerk o f Court
  using CM/E CF. I also cert ify t hat t he aforement io ned document s are be ing
  ser ved on a ll counsel o f record, corporat ions, or pro se part ies ident ified o n t he
  att ached Ser vice List in t he manner specified via Ser vice of Process by an
  aut hor ized Process Ser ver, and t hat al l fut ure pleadings, mot io ns and document s
  will be ser ved eit her via t ransmissio n o f Not ices of E lect ronic Filing generat ed
  by CM/ECF or Via U.S. Mail for t hose counsel or part ies who are not aut hor ized
  to receive elect ronically Not ices o f E lect ronic Filing .

  By: Ronald E. Stern
  Ronald E. St ern, Esq.
  Flor ida Bar No.: 10089
  THE ADVOCACY LAW FIRM, P.A.
  1250 East Hallanda le Beach Boulevard, Suit e 503
  Hallandale Beach, Flor ida 33009
  Telephone: (954) 639-7016
  Facsimile: (954) 639-7198
  At t orney for P laint iff RENZO BARBERI




                                             10
Case 0:19-cv-62016-RAR Document 1 Entered on FLSD Docket 08/12/2019 Page 11 of 11



                                     SERVICE LIS T:

   RENZO BARBERI, P laint iff, vs. GASCOM, INC., a Florida Profit Corporation, d/b/a
  EAST HOLLYWOOD SHELL, JANICE A. GAINES, as Trustee of the Janice D. Gaines Family
       Trust and HARRY A. GAINES, as Trustee of the Harry Alan Gaines Family Trust

              Unit ed St at es Dist r ict Court Sout her n Dist r ict Of Flor ida

                                         CASE NO.


  GASCOM, INC., d/b/a EAST HOLLYWOOD SHELL

  REGIS TERED AG ENT:

  PALACIOS, RICHARD E.
  348 E. GARDEN COVE CIRCLE
  DAVIE, FL 33325

  VIA PROCESS SERVER


  JANICE A. GAINES, as Trustee of the Janice D. Gaines Family Trust


  1 GROVE ISLE DRIVE
  UNIT 1107
  MI AMI, FL 33133-4108

  VIA PROCESS SERVER


  HARRY A. GAINES, as Trustee of the Harry Alan Gaines Family Trust

  1 GROVE ISLE DRIVE
  UNIT 1107
  MI AMI, FL 33133-4108

  VIA PROCESS SERVER




                                              11
